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     Attorneys for Defendants Ultimate Action,
 7 LLC, Supreme Studios, LLC, TF
     Properties #2, LLC, TF Properties #3,
 8 LLC and Theodore Fox
 9
10                            UNITED STATES DISTRICT COURT
11                        CENTRAL DISTRICT OF CALIFORNIA
12
13 JANICE FOX, an individual,                    Case No.
14               Plaintiff,                      DEFENDANTS ULTIMATE
                                                 ACTION LLC, SUPREME
15         vs.                                   STUDIOS, LLC, TF PROPERTIES
                                                 #2 LLC, TF PROPERTIES #3, LLC,
16 THEODORE FOX, an individual, and              AND THEODORE FOX’S NOTICE
     as Trustee of the GERSON FOX AND            OF REMOVAL OF CIVIL ACTION
17 GERTRUDE FOX FAMILY TRUST                     TO THE UNITED STATES
     and as Trustee of the BEARBIZ               DISTRICT COURT UNDER 28
18 IRREVOCABLE TRUST; ULTIMATE                   U.S.C. §§ 1441(a) AND 1331
     ACTION, LLC, a Nevada limited               [FEDERAL QUESTION
19 liability company; SUPREME                    JURISDICTION]
     STUDIOS, a Nevada limited liability
20 company; TF PROPERTIES #2, a
     California limited liability company; TF
21 PROPERTIES #3, a California limited
     liability company; BARRY FOX, an
22 individual; and DOES 1 through 50 and
     ROE Entities 51 through 100;
23
24               Defendants,
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         NOTICE OF REMOVAL OF CIVIL ACTION TO THE UNITED STATES DISTRICT COURT UNDER
                    28 U.S.C. §§ 1441(a) AND 1331 [FEDERAL QUESTION JURISDICTION]
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 1         TO PLAINTIFF JANICE FOX, HER ATTORNEYS OF RECORD, THE
 2 CLERK OF THE ABOVE-ENTITLED COURT AND THE HONORABLE
 3 UNITED STATES DISTRICT JUDGE, AS ASSIGNED:
 4         PLEASE TAKE NOTICE that Defendants Ultimate Action LLC,
 5 Supreme Studios, LLC, TF Properties #2 LLC, TF Properties #3, LLC, and
 6 Theodore Fox (“Removing Defendants”) submit this Notice of Removal based
 7 on federal question pursuant to 28 U.S.C. §§ 1441(a) and 1331. The action is
 8 hereby removed to this Court from the state court, as more particularly set forth
 9 below.
10 I.      THE STATE COURT ACTION
11         On May 14, 2021, Plaintiff commenced a civil action in the Superior Court of
12 the State of California, for the County of Los Angeles, Case No. 21STCV18183 (the
13 “State Court Action”). A copy of the complaint filed in the State Court Action is
14 attached hereto as Exhibit “A”. Removing Defendants have not appeared in the
15 State Court Action. Attached collectively hereto as Exhibit “B” are all other
16 documents filed in the State Court Action which are in Removing Defendants’
17 possession.
18 II.     FEDERAL QUESTION JURISDICTION
19         Cases filed in state court may be removed to federal district court where the
20 district courts have original subject matter jurisdiction over the case. 28 U.S.C. §
21 1441(a). District courts “have original jurisdiction of all civil actions arising under
22 the Constitution, laws or treaties of the United States.” 28 U.S.C. § 1331.
23         “The existence of federal question jurisdiction is ordinarily determined from
24 the face of the complaint.” Sparta Surgical Corp. v. National Ass’n of Sec. Dealers,
25 Inc., 159 F.3d 1209, 1211 (9th Cir. 1998). Under the well-pleaded complaint rule, a
26 defendant may remove a case to federal court if “the plaintiff’s complaint
27 establishes that the case ‘arises under’ federal law.” Franchise Tax Bd. v.
28 Construction Laborers Vacation Trust, 463 U.S. 1, 10 (1983) (emphasis omitted);
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         NOTICE OF REMOVAL OF CIVIL ACTION TO THE UNITED STATES DISTRICT COURT UNDER
                    28 U.S.C. §§ 1441(a) AND 1331 [FEDERAL QUESTION JURISDICTION]
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 1 Caterpillar, Inc. v. Williams, 482 U.S. 386, 392 (1987) (stating that federal
 2 jurisdiction is appropriate when it is presented on the face of plaintiffs well-pleaded
 3 complaint); Duncan v. Stuetzle, 76 F.3d 1480, 1485 (9th Cir. 1996) (same).
 4         A case “arises under” federal law when the complaint “establishes either that
 5 federal law creates the cause of action or that the Plaintiff’s right to relief
 6 necessarily depends on resolution of a substantial question of federal law.”
 7 Franchise Tax Bd., 463 U.S. at 27-28. It is well-established that a single claim over
 8 which federal question jurisdiction exists is sufficient for removal. Exxon Mobil
 9 Corp. v. Allapattah Servs., Inc., 545 U.S. 546, 563 (2005); City of Chicago v.
10 International College of Surgeons, 522 U.S. 156, 164-66 (1997). Further, district
11 courts have supplemental jurisdiction over related claims. 28 U.S.C. § 1367(a)
12 (providing in pertinent part that “in any civil action of which the district courts have
13 original jurisdiction, the district courts shall have supplemental jurisdiction over all
14 other claims that are so related to claims in the action within such original
15 jurisdiction that they form part of the same case or controversy under Article III of
16 the United States Constitution”).
17         This Court has jurisdiction of this case under 28 U.S.C. § 1331 because the
18 action contains allegations that Removing Defendants violated the Federal Civil
19 Rico Statute, 18 U.S.C. § 1962 (a), (b), (c), and (d). See Complaint in State Court
20 Action, pp. 45-47 (¶¶ 217-224).
21         Accordingly, federal law applies because claims arising under the laws of the
22 United States, or “federal questions,” are presented, which gives this Court
23 jurisdiction under 28 U.S.C. § 1331 and makes the State Court Action removable
24 under 28 U.S.C. § 1441(a) and (b).
25 III.    TIMELINESS
26         This Notice is timely, pursuant to 28 U.S.C. § 1446(b), because Ultimate
27 Action, LLC, TF Properties #2, LLC, and TF Properties #3, LLC were served
28 on July 11, 2021. Service was effected by substitute service on their agent for
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          NOTICE OF REMOVAL OF CIVIL ACTION TO THE UNITED STATES DISTRICT COURT UNDER
                     28 U.S.C. §§ 1441(a) AND 1331 [FEDERAL QUESTION JURISDICTION]
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 1 service of process by leaving a copy of the summons and complaint at his
 2 office on June 30, 2021 with a person apparently in charge and by mailing a
 3 copy on July 1, 2021. Service was deemed complete 10 days after mailing.
 4 Cal. Civ. Proc. Code § 415.20(a). As of the date hereof, service has not been
 5 validly effected on Supreme Studios, LLC, for whom the 30-day deadline for
 6 removal has not yet commenced to run. Destfino v. Reiswig, et al., 630 F.3d
 7 952, 956 (9th Cir. Cal. 2011) (“we hold that each defendant is entitled to thirty
 8 days to exercise his removal rights after being served”). Defendant Theodore
 9 Fox was served pursuant to Cal. Civ. Proc. Code § 415.30 through execution
10 of a Notice and Acknowledgement of Receipt on August 9, 2021. Thus, all of
11 the Removing Defendants are timely exercising their right to remove, and none
12 of them have appeared in the State Court Action.
13               All defendants who have been served join in this Notice of Removal.
14 IV.           OTHER PERTINENT INFORMATION
15               A. Pursuant to 28 U.S.C. § 1446(a), Removing Defendants file this Notice
16 in the District Court of the United States for the district and division within which
17 the State Court Action is pending. As such, this case is being removed to the United
18 States District Court for the Central District of California, because the State Court
19 Action is pending in Los Angeles County.
20               B. Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice with its
21 attachments will promptly be served on plaintiff in the State Court Action, and
22 notice thereof will be filed with the clerk of the Los Angeles County Superior Court.
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            NOTICE OF REMOVAL OF CIVIL ACTION TO THE UNITED STATES DISTRICT COURT UNDER
                       28 U.S.C. §§ 1441(a) AND 1331 [FEDERAL QUESTION JURISDICTION]
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 1               WHEREFORE, Removing Defendants hereby removes Los Angeles County
 2 Superior Court Case No. 21STCV18183 to the United States District Court for the
 3 Central District of California.
 4                                      Respectfully submitted,
 5 DATED: August 9, 2021                  WOLF, RIFKIN, SHAPIRO,
                                          SCHULMAN & RABKIN, LLP
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 7
 8
                                          By:        /s/ Christopher J. Heck
 9                                            CHRISTOPHER J. HECK
                                              JOHNNY WHITE
10                                        Attorneys for Defendants Ultimate Action,
11                                        LLC, Supreme Studios, LLC, TF Properties #2,
                                          LLC, TF Properties #3, LLC and Theodore Fox
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            NOTICE OF REMOVAL OF CIVIL ACTION TO THE UNITED STATES DISTRICT COURT UNDER
                       28 U.S.C. §§ 1441(a) AND 1331 [FEDERAL QUESTION JURISDICTION]
